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 Fill in this information to identify your case:

 Debtor 1                 Craig R. Moskovitz
                          First Name                        Middle Name               Last Name

 Debtor 2                 Nicole H. Moskovitz
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                                  Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Aberdeen Proving Ground Federal                       Surrender the property.                        No
    name:              Credit                                                Retain the property and redeem it.
                                                                                                                            Yes
                                                                             Retain the property and enter into a
    Description of       2012 Volkswagen Routan 97000                        Reaffirmation Agreement.
    property             miles                                               Retain the property and [explain]:
    securing debt:



    Creditor's         Aberdeen Proving Ground Federal                       Surrender the property.                        No
    name:              Credit                                                Retain the property and redeem it.
                                                                                                                            Yes
                                                                             Retain the property and enter into a
    Description of       1325 Littlefield Place Bel Air,                     Reaffirmation Agreement.
    property             MD 21015 Harford County                             Retain the property and [explain]:
    securing debt:                                                          retain and pay


    Creditor's         Disney Vacation Development, Inc.                     Surrender the property.                        No
    name:                                                                    Retain the property and redeem it.
                                                                             Retain the property and enter into a           Yes
    Description of       Unit 69 Disney's Polynesian                         Reaffirmation Agreement.

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 Debtor 1      Craig R. Moskovitz
 Debtor 2      Nicole H. Moskovitz                                                                    Case number (if known)


    property            Village                                             Retain the property and [explain]:
    securing debt:      undivided 0.3802% interest in
                        Unit 69 of Disney's Polynesioan
                        Villas & Bungalows (contract #
                        14020460)


    Creditor's     Kia Motors Finance                                       Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      2016 Kia Forte 50000 miles                          Reaffirmation Agreement.
    property            Joint with Matthew Wade                             Retain the property and [explain]:
    securing debt:



    Creditor's     Toyota Financial Services                                Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      Camry 2017 Toyota 49000 miles                       Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's     U.S. Bank Home Mortgage                                  Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of      1325 Littlefield Place Bel Air,                     Reaffirmation Agreement.
    property            MD 21015 Harford County                             Retain the property and [explain]:
    securing debt:                                                        retain and pay

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Craig R. Moskovitz
 Debtor 2      Nicole H. Moskovitz                                                                   Case number (if known)


 Description of leased                                                                                                        Yes
 Property:

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Craig R. Moskovitz                                                       X /s/ Nicole H. Moskovitz
       Craig R. Moskovitz                                                              Nicole H. Moskovitz
       Signature of Debtor 1                                                           Signature of Debtor 2

       Date        April 16, 2019                                                   Date    April 16, 2019




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